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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MELANIE E. DAMIAN, as                                )
 Special Monitor and Equity Receiver                  )
 for the Estate of HUNTER WISE                        )
 COMMODITIES, LLC, et al.,                            )
                                                      )      Case No.
                Plaintiff,                            )
                                                      )
 v.                                                   )
                                                      )
 TIMOTHY CAREY and                                    )
 WINSTON & STRAWN, LLP,                               )
                                                      )
                Defendants.                           )

                                          COMPLAINT

        Plaintiff, Melanie E. Damian, in her capacity as the Court-appointed Receiver (“Plaintiff”

 or the " Receiver") for Hunter Wise Commodities, LLC (“HW Commodities”), Hunter Wise

 Services, LLC (“HW Services”), Hunter Wise Credit, LLC (“HW Credit”), and Hunter Wise

 Trading, LLC (“HW Trading”) (collectively, the “HW Entities”), hereby sues Defendants,

 Timothy Carey (“Carey”) and Winston & Strawn, LLP, and states as follows:

                                        INTRODUCTION

        1.      This action is brought against a law firm and an attorney for negligently breaching

 their duties as attorneys and counsel to the HW Entities.

        2.      The HW Entities retained the Defendants to guide and counsel them concerning

 the implications of recent changes to the Commodities Exchange Act (the “CEA”) for their

 business model and regarding the Commodity Futures Trading Commission’s (the “CFTC”)

 investigation and enforcement action against the HW Entities. The Defendants knew or should

 have known that the HW Entities’ business model was illegal, and they negligently failed to
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 warn the HW Entities that they should make changes or stop operating. The Defendants also

 knew or should have known that the ongoing operations of the HW Entities in light of the CFTC

 investigation and enforcement action was counter to the best interests of the HW Entities.

        3.      As set forth more fully below, the Defendants owed a duty to the HW Entities as

 attorneys to counsel the HW Entities in a reasonably prudent manner consistent with applicable

 law. Defendants breached their duties as attorneys in several ways, including failure to gain a

 complete understanding of the HW Entities’ business model and operations and failure to

 counsel the HW Entities regarding the legal risks of continuing to operate as it did after the

 changes to the CEA went into effect, including ongoing violations of common law, after the

 CFTC investigation commenced.

        4.       On May 16, 2014, he United States District Court for the Southern District of

 Florida made a final determination contrary to all advice the Defendants had provided and

 imposed a damages award against the HW Entities in excess of $100 million. Defendants’

 breaches of their duties as attorneys caused this substantial monetary injury to the HW Entities.

 Further, the HW Entities paid the Defendants more than $500,000 in attorneys’ fees during the

 course of their representations of the HW Entities. The Receiver files this action to recover the

 HW Entities’ losses.

                                         THE PARTIES
        The Receiver

        5.      On February 22, 2013, the United States District Court for the Southern District

 of Florida appointed the Receiver in the action styled United States Commodity Future Trading

 Commission v. Hunter Wise Commodities, LLC, et al., Case No. 12-81311-CIV-Middlebrooks

 (the “Receivership Action”). See ECN # 4 in the Receivership Action (the “Appointment

 Order”). In the Appointment Order, the Court in the Receivership Action (the “Receivership


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 Court”) initially appointed the Receiver as “Monitor” and granted her the powers of a special

 monitor and corporate manager over the HW Entities. Id. at ECF #77. On February 24, 2013, the

 Receivership Court further defined and expanded the then Monitor’s powers, duties and

 responsibilities in its Order on Plaintiff’s Motion for Preliminary Injunction. Id. at ECF #78.

 On May 16, 2014, the Receivership Court entered its Order of Final Judgment, Permanent

 Injunction, Civil Monetary Penalty and Other Equitable Relief, which, among other things,

 granted the Monitor “full authority to act as an Equity Receiver for the Hunter Wise entity

 defendants.” Id. at ECF #306.

        The Defendants

        6.      Defendant Winston & Strawn, LLP is, and at all times material hereto was, a

 limited liability partnership, operating as an international law firm with its headquarters in

 Chicago, Illinois.

        7.      At all times material hereto, Defendant Carey was an attorney licensed to practice

 law and practicing law in the State of Illinois. Between 2006 and 2011, Defendant Carey

 practiced with and on behalf of the law firm Dewey LeBoeuf, in Chicago, Illinois, and from

 approximately May 2011 to the present, Defendant Carey was a partner in and has practiced law

 with and on behalf of Defendant Winston & Strawn, LLP.             At all times material hereto,

 Defendant Carey provided the HW Entities with legal services from or through his law offices,

 including the law offices of Defendant Winston & Strawn, in Chicago, Illinois.

        8.      At all material times between May 2011 and the present, Defendant Carey was

 acting within the course and scope of his duties and responsibilities as a partner in the Winston &

 Strawn Law Firm with the Firm’s approval and consent.




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         9.      As more fully explained below, the Defendants provided legal services to the HW

 Entities in connection with, among other issues, the implications of the enactment of Section 742

 of the Dodd-Frank Wall Street Reform and Consumer Protection Act of 2010 (the “Dodd-Frank

 Act”) on the business of the HW Entities and the CFTC investigation of the HW Entities (all

 discussed in greater detail below).

         10.     On May 16, 2014, this Court entered a permanent injunction against the HW

 Entities and their principals, Fred Jager and Ed Martin, and ordered them to pay a civil monetary

 penalty of $55,445,892.39 and $52,643,399.19 in restitution.

                                   JURISDICTION AND VENUE

         11.     This Court has subject matter jurisdiction over this action pursuant to Title 28,

 United States Code, Section 754, and the principles of ancillary or supplemental jurisdiction

 under Title 28, United States Code, Section 1367.

         12.     This Complaint is brought to accomplish the ends sought and directed by the

 Receivership Court, which, among other things, appointed Plaintiff as Monitor and Receiver and

 authorized her to commence actions to recover assets of the Receivership Estate.

         13.     This Court has diversity jurisdiction over this matter because Defendants are

 residents and citizens of the State of Illinois, and Plaintiff is a resident and citizen of Florida, and

 this case asserts claims of more than $75,000.00 in damages, exclusive of legal fees and costs.

         14.     Defendant Winston & Strawn is subject to the jurisdiction of this Court in that it

 has a registered agent in, as well as a large office which transacts business in Chicago, Illinois.

 Upon information and belief, Defendant Timothy Carey is a resident of and practices law in

 Chicago, Illinois. Further, and, as more fully shown by the facts set forth below, Defendants

 committed tortious acts within the jurisdiction, and each of the Defendants received transfers of

 funds, either directly or indirectly, from the HW Entities, which were operating, conducting,

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 engaging in, and carrying on a fraudulent business or business venture in, among other locations,

 the Northern District of Illinois.

         15.      Venue is also proper in the Northern District of Illinois pursuant to Title 28,

 United States Code, Section 1391(b), because a substantial part of the acts or omissions giving

 rise to the acts described and the claims set forth in this Complaint occurred in the Northern

 District of Illinois.

                                      GENERAL ALLEGATIONS

         16.      At all times material to this action, the Defendants held themselves out to be

 experienced in representing individuals and entities in connection with the CEA and related laws,

 CFTC investigations, enforcement actions, and related matters.

         17.      On or about May 2, 2011, the HW Entities retained Defendant Tim Carey to

 represent their interests in connection with a CFTC enforcement action against a dealer, 20/20,

 with whom the HW Entities had engaged in business.               Mr. Carey was introduced and

 recommended to the principals of the HW Entities by J.B. Grossman, an attorney in Florida who

 represented the HW Entities at that time.

         18.      Thereafter, after Defendant Carey left the Dewey LeBouef firm, on May 9, 2012,

 the HW Entities retained Defendant Carey and the Winston & Strawn firm to represent them and

 counsel them regarding the implications of the Dodd-Frank Act on the HW Entities’ business

 model, including ongoing compliance issues and the CFTC enforcement action. Attorney J.B.

 Grossman also continued to represent the HW Entities, along with the Defendants, at that time.

         Background of The HW Entities

         19.      HW Commodities originally was organized in 2007 as a California limited

 liability company. In January 2010, HW Commodities converted to a Nevada limited liability



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 company governed by the laws of Nevada. HW Commodities held itself out as “a physical

 commodity trading company, wholesaler, market maker, back-office support service provider,

 and finance company” that offered off-exchange financed commodity trading in physical metals.

        20.    At all times material hereto, HW Services, HW Credit, and HW Trading were

 wholly owned subsidiaries of HW Commodities. HW Credit and HW Trading are Nevada

 limited liability companies, and HW Services is a California limited liability company.

 Together, the HW Entities operated as a common enterprise under common ownership and

 control.

        21.    As stated above, at all times material hereto, the Defendants provided legal

 services to the HW Entities, primarily to HW Commodities and HW Trading.

        Fred Jager and Harold Edward Martin

        22.    At all times material hereto, Fred Jager (“Jager”) served as the chief executive

 officer (“CEO”) of the HW Entities, and he was a manager of HW Commodities and, through his

 companies, South Peak Texas Investments, Inc., Hunter Wise Financial Group, LLC, and Hunter

 Wise Holdings, LLC, owned the largest percentage of HW Commodites’ outstanding

 membership interests.

        23.    Harold Edward Martin (“Martin”) served as the President, chief operating officer

 (“COO”), and registered agent of the HW Entities, and he was a manager and majority member

 of HW Commodities.      Martin owned the second largest percentage of HW Commodities’

 outstanding membership interests.

        24.    Jager and Martin retained the Defendants on behalf of the HW Entities, and Jager

 and Martin were the primary representatives and points of contact on behalf of the HW Entities

 with whom the Defendants communicated.



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        Overview of the HW Entities’ Operations

        25.     The HW Entities offered retail customers two types of transactions: (1) the

 purchase or sale of physical precious metals, and (2) off-exchange trading of gold, silver,

 platinum, palladium, and copper on a leveraged, margined or financed basis. In the latter

 transactions, the retail customers were led to believe that they purchased physical commodities

 and paid only a portion of the purchase price and financed the balance of the purchase price.

 These types of “financed” transactions constituted the vast majority of the HW Entities’

 business.

        26.     The HW Entities used a network of retail dealers and telemarketing firms (the

 “dealers”) to solicit retail customers and execute financed transactions with the HW Entities.

 The HW Entities also used an intermediary entity, Lloyds Commodities, LLC (“Lloyds”), to

 execute financed transactions between the dealers and the HW Entities. Lloyds functioned

 principally to accept orders and funds from dealers on behalf of customers and to transmit the

 orders and funds to the HW Entities. Generally, the customers entered into agreements with

 their dealers, and the dealers entered into agreements either with HW Commodities or with

 Lloyds. These agreements governed the customers’ purchases and sales of the precious metals,

 as well as the financing and data processing services.

        27.     The HW Entities and their dealers’ marketing materials and websites represented

 that (1) retail customers could purchase physical commodities, including gold, silver, copper,

 platinum, and palladium, by paying as little as 20-25% of the purchase price; (2) the dealers

 would lend the customers the remaining portion of the purchase price and charge the customer

 interest on the loan; (3) the customer would receive title to the physical commodities after the




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 financed purchase; and (4) the dealers would store the physical commodities at an independent

 depository on the customers’ behalf.

        28.     After signing account agreements with the dealers, the customers would place

 either long (buy) or short (sell) trades to speculate on the price movement of metals. Once the

 customers agreed to place orders to purchase or sell metals, the dealers contacted the HW

 Entities or Lloyds, which would then contact the HW Entities, to enter the trades for the

 customers. The dealers then collected the customer funds and sent them to the HW Entities or to

 Lloyds, which would forward the funds to the HW Entities.

        29.     During all relevant times, the HW Entities used several different documents to

 provide notice and/or confirmation to customers of book entries made on their behalf regarding

 purchases and sales of metals. These documents included the “Transfer of Precious Metals”

 document and the “Transfer of Commodity” document. However, for the most part, no actual

 metals were transferred as part of the transactions. The Defendants assisted the HW Entities

 with the preparation and use of these documents.

        30.     The customers’ equity increased or decreased as prices of metals fluctuated, while

 also subject to depletion on a daily basis by interest and service fees. When customers’ equity

 fell below 15% of the value of their total trading position, the customers received margin calls,

 requiring the customers to deposit additional funds in order to maintain their trading positions. If

 the customers’ equity dropped to 9%, any open trading positions were liquidated.

        31.     The overwhelming majority of the HW Entities’ end customers who entered into

 financed transactions with the HW Entities, through the dealers or Lloyds, lost money as a result

 of those transactions, and those losses were compounded by the high commissions and fees that

 the HW Entities charged.



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        The Dodd-Frank Act

        32.     On July 16, 2011, Section 742 of the Dodd-Frank Act went into effect. The

 Dodd-Frank Act broadened the scope of the CFTC’s jurisdiction to include financed commodity

 transactions with retail customers. Specifically, this broadened jurisdiction required that such

 transactions be executed on an exchange and subjected these transactions to anti-fraud provisions

 as set forth in Sections 4(a) and 4(b) of the CEA, as amended by the Dodd-Frank Act (see 7

 U.S.C. §§ 2(c)(2)(D), 6(a), 6b, 9, and 15), and the CFTC’s regulations promulgated thereunder

 (see 17 C.F.R. §§ 1.1, et seq. (2012)). In addition, effective August 15, 2011, Section 753 of the

 Dodd-Frank Act amended Section 6(c) of the CEA, 7 U.S.C. §§ 9 and 15, broadening the

 CFTC’s anti-fraud jurisdiction as set out in 17 C.F.R. § 180.1.

        33.     The Dodd-Frank Act amendments to the CEA require that commodity

 transactions with individual consumers (like the end customers here) on a leveraged or margined

 basis or financed by the offeror (like the financed transactions engaged in by the HW Entities)

 must be done on a regulated commodity exchange. The Dodd-Frank Act allows for exceptions

 to this requirement if the financed commodities, here the precious metals, are actually delivered

 to the end customer within twenty-eight (28) days of the transaction or if the applicable contract

 creates an enforceable obligation to deliver between a seller and a buyer that have the ability to

 deliver and accept delivery. See 7 U.S.C. § 2(c)(2)(D).

        The HW Entities’ Violations of the Dodd-Frank Act

        34.     As determined by the Receivership Court (E.C.N.# 281 in the Receivership

 Action) and by the United States Court of Appeals for the Eleventh Circuit (749 F.3d 967 (2014),

 the HW Entities operated in violation of the CEA and, particularly, the Dodd-Frank Act since its




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  effective date in July 2011 and during the time the HW Entities were represented by the

  Defendants herein.

         35.     Specifically, although the HW Entities claimed to supply physical metals to, and

  provide financing for, financed metals transactions marketed by their dealers, they did not

  generally buy, sell, loan, store, or transfer physical metals in connection with such transactions.

  Instead, the HW Entities recorded and tracked customer orders and trading positions, and then

  managed their exposure to those retail customer trading positions by trading derivatives, such as

  futures, forwards, and rolling spot contracts, in their own margin trading accounts.

         36.     The HW Entities allowed customers to take “long” trading positions through

  purported purchases of metals, and “short” trading positions through what they called

  “commodity loans.” When they received an order and the necessary customer funds from a

  dealer or Lloyds, the HW Entities made a book entry in a database reflecting the retail

  customer’s transaction.

         37.     The HW Entities would aggregate the funds received from the dealers and Lloyds

  and deposit those funds in their own bank accounts. The HW Entities then deposited a portion of

  those funds in margin trading accounts in the name of a HW Entity with a precious metals

  supplier or trading institution with which the HW Entities, had signed trading account

  agreements on behalf of the HW Entities.

         38.     At no time during the relevant period at issue in this Complaint did the HW

  Entities have an inventory of physical precious metals that they sold or loaned to customers in

  connection with financed metals transactions that was sufficient to meet even 15% of their

  customers’ transactions. The HW Entities did not pay in full for the purchase of commodities

  through their margin trading accounts. Instead, the HW Entities deposited funds with the metals



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  suppliers or trading institutions as margin in order to trade metals futures or forward contracts on

  their own behalf to manage their exposure to customer orders.

         39.     The HW Entities’ trading in their margin accounts did not involve the shipment,

  receipt, or storage of physical metals. The trading institutions with which the HW Entities

  placed their margin trades did not actually deliver any physical commodities to the HW Entities.

  The HW Entities did not own, possess, or have title to any metals as a result of their margin

  trades, and neither did the HW Entities’ customers. Any invested equity that the HW Entities did

  have in trading accounts was never assigned to specific end customers nor to their dealers. The

  HW Entities did not actually deliver any physical commodities to any of their intermediaries

  (including but not limited to Lloyds), dealers, or any end customers in connection with financed

  commodity transactions.

         40.     At all material times, the Defendants were aware or should have been aware of

  the HW Entities’ business model and of the fact that neither the HW Entities nor its dealers or

  end customers owned, possessed, or held title to any metals as a result of the HW Entities’

  margin trades or financed metals sales.

         41.     At all material times, the Defendants were aware or should have been aware of

  material misstatements in the documents provided to retail customers.

         42.     As a result of the above-described business model, the HW Entities operated in

  violation of the Dodd-Frank Act and common law while they were represented and counseled by

  the Defendants.

         43.     On May 16, 2014, the Receivership Court held that the HW Entities

  “misrepresented facts about the precious metals transactions it oversaw… [and] directly and

  indirectly led the retail customers to believe metals were stored on their behalf.” [Receivership



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  Action, E.C.N. #303 at p.31]. The Receivership Court further held that “[the HW Entities] failed

  to inform [retail customers] that the metals it purchased were on a financed basis, it did not own

  the metals, and the metals, if there were any at all, were not in the retail customers’ names.” Id.

         The Defendants Breached Their Fiduciary Duties To The HW Entities

         44.     As attorneys for the HW Entities, the Defendants owed a fiduciary duty to the

  HW Entities to, among other things, exercise diligence and care in assuring that the HW Entities

  operated in compliance with the law and in the best interests of the HW Entities and their

  investors and customers.

         45.     In their fiduciary capacities, the Defendants permitted, and, indeed, advised the

  HW Entities to operate in violation of the law. As set forth above and more fully described

  below, the Defendants failed to counsel the HW Entities that offering customers off-exchange

  financed commodity transactions without actually delivering or having the ability to deliver the

  commodities purportedly purchased by the customers was a violation of the CEA and the Dodd-

  Frank Act and exposed the HW Entities to substantial penalties.

         46.     Further, the Defendants allowed the HW Entities to lead end customers to believe

  that they had purchased commodities on a financed basis and that physical precious metals had

  been delivered to and were being stored at a depository facility on their behalf when, in fact, the

  HW Entities did not own, possess, or have title to any metals as a result of their margin trades,

  and neither did its customers.

         47.     Since at least the effective date of the Dodd-Frank Act in July 2011, the

  Defendants knew or should have known that the HW Entities’ off-exchange financed metals

  transactions violated the CEA, as amended by the Dodd-Frank Act.




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          48.     The Defendants failed to counsel the HW Entities that their business model

  violated the Dodd-Frank Act and common law and that, unless the HW Entities changed their

  procedures for allocating and delivering precious metals on behalf of customers who entered into

  financed transactions with the HW Entities, the HW Entities would be operating in violation of

  the CEA and the Dodd-Frank Act. Instead of warning them of the risks, the Defendants stood

  idly by as the HW Entities continued to operate and allowed the operation of the HW Entities in

  violation of the Dodd-Frank Act, despite the CFTC’s investigation and enforcement action, until

  they were shut down by the Receivership Court.

          49.     The eventual shut-down of the HW Entities’ operations and the ensuing losses to

  their customers and creditors could have been avoided if the Defendants had acted in the HW

  Entities’ best interests.

          50.     The HW Entities were the victims of the continued wrongful acts and omissions

  of the Defendants, who failed to act in the best interests of the HW Entities.

          51.     As a result of the Defendants’ conduct, the Receivership Court imposed a

  judgment against the HW Entities, jointly and severally with Jager and Martin, for

  $52,643,399.19 in restitution and $55,445,892.39 in civil monetary penalties. [Receivership

  Action, E.C.N. #306 at pp. 4 and 7].

          52.     During the period of representation alleged herein, the HW Entities paid

  approximately $523,000 in legal fees to Timothy Carey and Winston & Strawn, LLP.

          53.     One of the duties of the Receiver is to bring claims against third parties on behalf

  of the HW Entities for the benefit of the HW Entities’ creditors and customers. This lawsuit is

  brought pursuant to that duty.




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          54.     The Receiver previously filed a lawsuit against these Defendants in the Southern

  District of Florida on September 19, 2014.         The Complaint was dismissed as against the

  Defendants for lack of personal jurisdiction on April 22, 2015. Case No. 14-cv-23475-KMW

  (So. Dist. Of Florida) (E.C.N.#39).

          55.     All conditions precedent to the bringing of this action have been performed or

  satisfied or have occurred.

                                          COUNT ONE
                                      LEGAL MALPRACTICE
                                         (All Defendants)

          56.     Plaintiff hereby reasserts the allegations set forth in paragraphs 1 through 55 as if

  fully set forth herein.

          57.     An attorney-client relationship existed between the HW Entities and the

  Defendants in that the HW Entities retained Defendants to perform legal services in connection

  with the implications of the Dodd-Frank Act on their business, and later, to represent the HW

  Entities in connection with the CFTC enforcement action. Each of the Defendants, individually

  or through individual representatives, performed work for the HW Entities at times from May

  2009 through at least February 2013.

          58.     As a result of the attorney-client relationship between the HW Entities and the

  Defendants, each of the Defendants owed a duty of care and skill to the HW Entities, including a

  duty to fully, fairly, and competently represent the HW Entities in connection with the

  implications of the Dodd-Frank Act on the businesses’ operations. The Defendants owed duties

  to the HW Entities to, among other things, give general legal advice about the changes in the law

  and the implications of common law violations and to assist the HW Entities by fully researching

  the HW Entities’ business model and the application of the Dodd-Frank Act to determine (i)



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  whether the HW Entities could continue to operate under their current business model without

  violating the Dodd-Frank Act; (ii) whether the HW Entities were exposed to risk of damages as a

  result of the Dodd-Frank Act; (iii) to provide adequate warnings to the HW Entities regarding the

  legal implications of their ongoing operations; and (iv) to provide competent, responsible legal

  advice in light of and in connection with the CFTC investigation and enforcement action. The

  Defendants had a duty to perform the aforementioned duties with the care, skill, and diligence

  that are ordinarily used by attorneys in the profession.

         59.     The Defendants failed to exercise the duty of care ordinarily employed by

  attorneys who are in their profession when performing legal services for the HW Entities in

  advising the HW Entities in connection with the Dodd-Frank Act and the common law.

  Defendants should have realized that the HW Entities’ business model violated the Dodd-Frank

  Act and common law. A competent attorney using ordinary care would have effectively warned

  the HW Entities that they could not continue to operate under their then-current business model

  without running afoul of the law. This failure to exercise ordinary care amounted to a breach of

  Defendants’ duty of care resulting from their engagement by the HW Entities to perform legal

  services for them.

         60.     As a result of the Defendants’ breach of their duty to the HW Entities, the HW

  Entities sustained significant injury and loss. Specifically, the HW Entities’ damages include the

  imposition of more than $100 million in penalties and fines against the HW Entities and the

  payment of more than $500,000 in fees to the Defendants.

         WHEREFORE, Plaintiff Melanie E. Damian, as the Receiver for the HW Entities, hereby

  demands judgment against the Defendants for the total amount of damages resulting from the




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  Defendants’ legal malpractice committed while acting as the HW Entities’ attorneys, plus all

  attorneys’ fees and costs, plus such further relief that this Court deems to be appropriate and just.

                                         COUNT TWO
                                  BREACH OF FIDUCIARY DUTY
                                        (All Defendants)

          61.     Plaintiff hereby re-asserts the allegations set forth in paragraphs 1 through 55

  above as if fully set forth herein.

          62.     As alleged above, the Defendants, as the HW Entities’ attorneys, owed a fiduciary

  duty to the HW Entities, including a duty of loyalty, good faith, and due care.

          63.     The Defendants breached that duty by, inter alia, failing to adequately research

  the HW Entities’ business model and the implications of the applicable changes in the law and in

  failing to advise the HW Entities that they should not proceed with their ongoing business in the

  same manner after July 2011 and through the CFTC investigation and enforcement action.

          64.     That breach proximately caused damages to the HW Entities, including more than

  $100 million in damages and the payment of more than $500,000 in fees to the Defendants.

          WHEREFORE, Plaintiff, Melanie E. Damian, as the Receiver for the HW Entities,

  hereby demands judgment against the Defendants for the total amount of the HW Entities’

  damages resulting from the breach of fiduciary duty of the Defendants to the HW Entities, plus

  costs and interest, and attorneys’ fees, if appropriate, and such further relief that this Court deems

  to be appropriate and just.

                                          COUNT THREE
                                     BREACH OF CONTRACT
                                  (Defendant Winston & Strawn, LLP)

          65.     Plaintiff hereby reasserts the allegations set forth in paragraphs 1 through 55 as if

  fully set forth herein.


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         66.     Defendant Winston & Strawn and one or more of the HW Entities entered into an

  agreement (the “Winston & Strawn Retainer Agreement”) whereby Winston & Strawn agreed to

  provide legal services in exchange for fees.

         67.     Implicit in Winston & Strawn’s contractual undertaking to represent the HW

  Entities is that Winston & Strawn, its respective partners, agents, and employees would exercise

  the knowledge, skill, and ability ordinarily possessed and exercised by members of the legal

  profession in similar circumstances.

         68.     Defendant Winston & Strawn breached the Winston & Strawn Retainer

  Agreement by failing to provide legal services according to the duty of care provided for therein.

         69.     As a direct and proximate result of the breach by Defendant Winston & Strawn,

  the HW Entities sustained significant damages, including more than $100 million in damages

  and the payment of more than $500,000 in fees to the Defendants.

         WHEREFORE, Plaintiff, Melanie E. Damian, as the Receiver for the HW Entities,

  hereby demands judgment against Defendant Winston & Strawn for all damages to the HW

  Entities resulting from the breach of contract by Winston & Strawn, plus costs and interest, and

  such further relief as this Court deems to be appropriate and just.

                                           CONCLUSION

         WHEREFORE, Plaintiff, Melanie E. Damian, as the Receiver for the HW Entities,

  hereby demands judgment against the Defendants for the total amount of damages resulting from

  the legal malpractice, breaches of fiduciary duty, and breaches of contract by the Defendants,

  and such further relief as this Court deems to be appropriate and just.




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                                DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury trial on all issues and claims so triable.

       Respectfully submitted this 15th day of May, 2015.



                                            By:/s/ Drew G.A. Peel

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